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 1                                                                              Hon. Barbara J. Rothstein

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 6
                                  UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7

 8   PENNY PANNEK,

 9                                   Plaintiff,             No. 2:21-cv-1447BJR

10                   vs.                                    DEFENDANTS’ STIPULATED
                                                            MOTION AND
11   CITY OF SEATTLE, and LINCOLN TOWING                    ORDER TO EXTEND
     ENTERPRISES, INC.                                      DEADLINE TO ANSWER
12
                                     Defendants.            Noting Date: December 2, 2021
13

14           Defendants City of Seattle (hereinafter “City”) and Lincoln Towing Enterprises, Inc.

15   (“Lincoln”) hereby move for an extension of their deadline to answer Plaintiff’s complaint from

16   December 3, 2021, until January 3, 2022. The City and Lincoln would benefit from additional time

17   to research and respond to Plaintiff’s allegations. All parties stipulate and consent to this motion.

18           STIPULATED AND AGREED TO this 2nd day of December, 2021.

19                                           PETER S. HOLMES
                                             Seattle City Attorney
20

21
                                     By:     /s/Carolyn U Boies
22                                             Carolyn U. Boies, WSBA#40395
                                               Assistant City Attorney
23

      DEFENDANTS’ STIPULATED MOTION AND                                                   Peter S. Holmes
                                                                                          Seattle City Attorney
      ORDER TO EXTEND DEADLINE TO ANSWER                                                  701 5th Avenue, Suite 2050
      Page 1 (21-cv-1447BJR)                                                              Seattle, WA 98104-7097
                                                                                          (206) 684-8200
          Case 2:21-cv-01447-BJR Document 10 Filed 12/03/21 Page 2 of 3




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 3                             Fax #: (206) 684-8284

 4                             E-mail: Carolyn.boies@seattle.gov

 5                             Attorney for City of Seattle

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 7                             _/s/James E. Lobsenz
                               James E. Lobsenz, WSBA# 8787
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14                             _/s/Daniel P. Mallove_______________
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                               Attorneys for Defendant Lincoln Towing Enterprises
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     DEFENDANTS’ STIPULATED MOTION AND                                Peter S. Holmes
                                                                      Seattle City Attorney
     ORDER TO EXTEND DEADLINE TO ANSWER                               701 5th Avenue, Suite 2050
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              Case 2:21-cv-01447-BJR Document 10 Filed 12/03/21 Page 3 of 3




 1                                               ORDER

 2          THIS MATTER having come before the Court on the foregoing Stipulation, and the Court

 3   having considered the Stipulation, and good cause appearing, now, therefore:

 4          IT IS ORDERED THAT the extension is granted and Defendants City of Seattle and

 5   Lincoln Towing’s answer to Plaintiff’s complaint is due January 3, 2022.

 6          DATED this 2nd day of December, 2021.

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 8                                                      A
                                                        Barbara       Jacobs      Rothstein
 9
                                                        U.S. District Court Judge
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      DEFENDANTS’ STIPULATED MOTION AND                                             Peter S. Holmes
                                                                                    Seattle City Attorney
      ORDER TO EXTEND DEADLINE TO ANSWER                                            701 5th Avenue, Suite 2050
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